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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                         )
                                                  )            8:09CR36
                       Plaintiff,                 )
                                                  )
       vs.                                        )              ORDER
                                                  )
JUAN RAMOS-RAMOS and                              )
NELLIE CAMPOS,                                    )
                                                  )
                       Defendants.                )
       This matter is before the court on the motion for an extension of time by defendant
Juan Ramos-Ramos (Ramos-Ramos) (Filing No. 23). Ramos-Ramos seeks additional time
in which to file pretrial motions in accordance with the progression order (Filing No. 11).
Ramos-Ramos's counsel represents that Ramos-Ramos will file an affidavit wherein he
consents to the motion and acknowledges he understands the additional time may be
excludable time for the purposes of the Speedy Trial Act. Ramos-Ramos's counsel
represents that government's counsel has no objection to the motion. Upon consideration,
the motion will be granted and the pretrial motion deadline will be extended as to all
defendants.
       IT IS ORDERED:
       Defendant Ramos-Ramos's motion for an extension of time (Filing No. 23) is
granted. All defendants are given until on or before March 20, 2009, in which to file
pretrial motions pursuant to the progression order. The ends of justice have been served
by granting such motion and outweigh the interests of the public and the defendants in a
speedy trial. The additional time arising as a result of the granting of the motion, i.e., the
time between March 4, 2009 and March 20, 2009, shall be deemed excludable time in
any computation of time under the requirement of the Speedy Trial Act for the reason
defendants' counsel require additional time to adequately prepare the case, taking into
consideration due diligence of counsel, and the novelty and complexity of this case. The
failure to grant additional time might result in a miscarriage of justice. 18 U.S.C. §
3161(h)(8)(A) & (B).
       DATED this 4th day of March, 2009.
                                                  BY THE COURT:
                                                  s/Thomas D. Thalken
                                                  United States Magistrate Judge
